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                  EXHIBIT 9
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Fill in this information to identify the case:

Debtor name         Alliance Farm and Ranch, LLC

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF TEXAS

Case number (if known)     25-30155
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       April 4, 2025                   X
                                                             Signature of individual signing on behalf of debtor

                                                             Jerod Furr
                                                             Printed name

                                                             President
                                                             Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Alliance Farm and Ranch, LLC
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS                                                                          Check if this is an

 Case number (if known):        25-30155                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Alliance Energy                                     Loan                                                                                                    $1,000,000.00
 Partners, LLC
 20008 Champions
 Forest Dr., Suite
 1203
 Spring, TX 77379
 Dustin Etter                                                                  Contingent                                                                                $0.00
 c/o Noah E. W. Meek                                                           Unliquidated
 Irelan McDaniel,                                                              Disputed
 PLLC
 2520 Caroline, 2nd
 Floor
 Houston, TX 77004




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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Fill in this information to identify the case:

Debtor name           Alliance Farm and Ranch, LLC

United States Bankruptcy Court for the:                      SOUTHERN DISTRICT OF TEXAS

Case number (if known)              25-30155
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $        7,400,000.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $           231,532.00

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $        7,631,532.00


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        4,500,000.00


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,000,000.00


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $           5,500,000.00




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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Fill in this information to identify the case:

Debtor name         Alliance Farm and Ranch, LLC

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF TEXAS

Case number (if known)       25-30155
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Frost Bank                                        Checking                                                                         $232.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                        $232.00
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.


Part 4:          Investments
13. Does the debtor own any investments?

       No. Go to Part 5.

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
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Debtor       Alliance Farm and Ranch, LLC                                               Case number (If known) 25-30155
             Name


      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.

          General description                                           Net book value of      Valuation method used      Current value of
                                                                        debtor's interest      for current value          debtor's interest
                                                                        (Where available)

28.       Crops-either planted or harvested

29.       Farm animals Examples: Livestock, poultry, farm-raised fish
          One (1) steer                                                               $0.00                                          $2,500.00


          Three (3) cows                                                              $0.00                                          $7,500.00


          Two (2) donkeys                                                             $0.00                                               $0.00



30.       Farm machinery and equipment (Other than titled motor vehicles)
          One (1) Case tractor                                                        $0.00                                         $35,000.00


          One (1) Kabota tractor                                                      $0.00                                          $7,000.00


          One (1) Case forklift                                                       $0.00                                          $6,500.00


          Two (2) Zero turn Kubota lawn mowers                                        $0.00                                         $16,000.00


          One (1) 65 Kw generator trailer mounted                                     $0.00                                         $15,000.00


          Fertilizer spreader                                                         $0.00                                               $0.00


          Walk-in cooler and freezer in barn                                          $0.00                                          $4,000.00


          Ice maker                                                                   $0.00                                            $300.00



31.       Farm and fishing supplies, chemicals, and feed

32.       Other farming and fishing-related property not already listed in Part 6




Official Form 206A/B                              Schedule A/B Assets - Real and Personal Property                                        page 2
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Debtor       Alliance Farm and Ranch, LLC                                                   Case number (If known) 25-30155
             Name


33.       Total of Part 6.                                                                                                          $93,800.00
          Add lines 28 through 32. Copy the total to line 85.

34.       Is the debtor a member of an agricultural cooperative?
             No
             Yes. Is any of the debtor's property stored at the cooperative?
                       No
                       Yes

35.       Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                               Valuation method                             Current Value

36.       Is a depreciation schedule available for any of the property listed in Part 6?
             No
             Yes

37.       Has any of the property listed in Part 6 been appraised by a professional within the last year?
             No
             Yes

Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used     Current value of
                                                                         debtor's interest          for current value         debtor's interest
                                                                         (Where available)

39.       Office furniture
          Four (4) desks and four (4) chairs                                              $0.00                                            $100.00



40.       Office fixtures
          Bar furnishings                                                                 $0.00                                          $6,000.00


          TVs in bar                                                                      $0.00                                          $1,500.00



41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Home and shop audio/video and security
          system                                                                          $0.00                                         $70,000.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                             $77,600.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                          page 3
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Debtor       Alliance Farm and Ranch, LLC                                              Case number (If known) 25-30155
             Name

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                        Net book value of         Valuation method used       Current value of
          Include year, make, model, and identification numbers      debtor's interest         for current value           debtor's interest
          (i.e., VIN, HIN, or N-number)                              (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          Two (2) 5 ton overhead cranes                                              $0.00                                           $50,000.00


          One (1) 1/2 ton Jib crane                                                  $0.00                                            $3,500.00


          One (1) Challenger Auto lift                                               $0.00                                            $3,400.00


          One (1) Paint booth                                                        $0.00                                            $3,000.00



51.       Total of Part 8.                                                                                                       $59,900.00
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes

53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes

Part 9:      Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of           Nature and           Net book value of         Valuation method used     Current value of
          property                              extent of            debtor's interest         for current value         debtor's interest
          Include street address or other       debtor's interest    (Where available)
          description such as Assessor          in property
          Parcel Number (APN), and type
          of property (for example,

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                          page 4
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Debtor         Alliance Farm and Ranch, LLC                                                Case number (If known) 25-30155
               Name

           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1.                                   Fee simple
                    5450 Honea Egypt               (subject to
                    Rd.                            dispute with
                    Montgomery, TX                 mortgage
                    77316                          holder)                         Unknown                                          $7,400,000.00




56.        Total of Part 9.                                                                                                      $7,400,000.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
              No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                             Current value of
                                                                                                                             debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)
           Claims against Erik and Darla Ostrander in Alliance
           Farm and Ranch, LLC v. Erik C. Ostrander and Darla
           Ostrander, Case No. 25-01-00068 pending in the 284th
           Judicial District Court of Monthgomery County, Texas                                                                         Unknown
           Nature of claim           Wrongful foreclosure
           Amount requested                      $2,900,000.00



75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims


Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 5
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Debtor      Alliance Farm and Ranch, LLC                                            Case number (If known) 25-30155
            Name

76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership

78.      Total of Part 11.                                                                                            $0.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                    page 6
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Debtor          Alliance Farm and Ranch, LLC                                                                        Case number (If known) 25-30155
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                 $232.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                      $93,800.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                          $77,600.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $59,900.00

88. Real property. Copy line 56, Part 9.........................................................................................>                      $7,400,000.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $231,532.00           + 91b.            $7,400,000.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $7,631,532.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 7
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Fill in this information to identify the case:

Debtor name          Alliance Farm and Ranch, LLC

United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

Case number (if known)              25-30155
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                      Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                                   Amount of claim             Value of collateral
                                                                                                                                                  that supports this
                                                                                                                      Do not deduct the value     claim
                                                                                                                      of collateral.
2.1    Erik and Darla Ostrander                     Describe debtor's property that is subject to a lien                   $4,500,000.00             $7,400,000.00
       Creditor's Name                              5450 Honea Egypt Rd, Montgomery, Texas
       20105 Krahn Rd.
       Spring, TX 77388
       Creditor's mailing address                   Describe the lien

                                                    Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known               Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
           No                                          Contingent
           Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative
       priority.                                       Disputed




                                                                                                                            $4,500,000.0
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       0

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
        Reagan H. "Tres" Gibbs, III
        Cokinos Young                                                                                         Line   2.1
        1221 Lamar, 16th Floor
        Houston, TX 77010-3039




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                    page 1 of 1
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Fill in this information to identify the case:

Debtor name        Alliance Farm and Ranch, LLC

United States Bankruptcy Court for the:         SOUTHERN DISTRICT OF TEXAS

Case number (if known)           25-30155
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $1,000,000.00
          Alliance Energy Partners, LLC                                        Contingent
          20008 Champions Forest Dr., Suite 1203                               Unliquidated
          Spring, TX 77379                                                     Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: Loan
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
          Dustin Etter
          c/o Noah E. W. Meek                                                  Contingent
          Irelan McDaniel, PLLC                                                Unliquidated
          2520 Caroline, 2nd Floor                                             Disputed
          Houston, TX 77004
                                                                            Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                   On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                     related creditor (if any) listed?                account number, if
                                                                                                                                                      any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                       Total of claim amounts
5a. Total claims from Part 1                                                                            5a.        $                            0.00
5b. Total claims from Part 2                                                                            5b.   +    $                    1,000,000.00

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                 5c.        $                        1,000,000.00



Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 1
                                                                                                          37652
                   Case
                    Case25-30155
                         25-30155 Document
                                   Document45-1
                                            34 Filed
                                                FiledininTXSB
                                                          TXSBon
                                                               on04/04/25
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                                                                                        15

Fill in this information to identify the case:

Debtor name       Alliance Farm and Ranch, LLC

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF TEXAS

Case number (if known)     25-30155
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Lease of shop located
           lease is for and the nature of        at 5450 Honea Egypt
           the debtor's interest                 Rd., Montgomery,
                                                 Texas
               State the term remaining          20 months
                                                                                    Alliance Energy Partners, LLC
           List the contract number of any                                          5450 Honea Egypt Rd
                 government contract                                                Montgomery, TX 77316




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
                  Case
                   Case25-30155
                        25-30155 Document
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                                           34 Filed
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                                                                                       15

Fill in this information to identify the case:

Debtor name      Alliance Farm and Ranch, LLC

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF TEXAS

Case number (if known)   25-30155
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:
   2.1                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.2                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.3                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.4                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
